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                                      NORTHERN DISTRICT OF CALIFORNIA
16 16
                                            SAN FRANCISCO DIVISION
17 17

18 18    COMMUNITY LEGAL SERVICES IN EAST )                  Case No. 3:25-cv-02847-AMO
         PALO ALTO, ET AL.,                 )
19 19                                       )                NOTICE OF APPEAL
                    Plaintiffs,             )
20 20                                       )
           v.                               )
21 21                                       )
         UNITED STATES DEPARTMENT OF        )                Hon. Araceli Martínez-Olguín
22 22    HEALTH AND HUMAN SERVICES, ET AL., )                United States District Judge
                                            )
23 23               Defendants.             )
                                            )
24 24                                       )
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25 25                                       )
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27       DEFENDANTS’ NOTICE OF APPEAL

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1    1          Defendants United States Health and Human Services, United States Department of Interior, and
2    2   United States Office of Refugee Resettlement hereby appeal from the Court’s April 1, 2025 order
3    3   granting a Temporary Restraining Order (TRO), ECF No. 33, and the Court’s April 10, 2025 order
4    4   extending the TRO, ECF No. 48, to the United States Court of Appeals for the Ninth Circuit. The court
5    5   of appeals has jurisdiction under 28 U.S.C. § 1292(a)(1), because the Court extended the TRO beyond
6    6   the 14-day period in Federal Rule of Civil Procedure 65(b) and because Defendants strongly challenged
7    7   the Court’s basis for entering a TRO. See Serv. Emps. Int’l Union v. Nat’l Union of Healthcare Workers,
8    8   598 F.3d 1061, 1067 (9th Cir. 2010) (observing that an order denominated a TRO that possessed the
9    9   qualities of a preliminary injunction is a reviewable interlocutory order). Where, as here, a district court
10 10    held an adversary hearing and the basis for the district court’s order was strongly challenged,
11 11    classification as a TRO is unlikely. Id. (citation omitted). Likewise, where, as here, the duration of the
12 12    order exceeds the ordinary duration for TROs as set forth in the Federal Rules of Civil Procedure,
13 13    classification as a TRO is unlikely. Id. (citation omitted).
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27       DEFENDANTS’ NOTICE OF APPEAL

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27       DEFENDANTS’ NOTICE OF APPEAL

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 1
                                      CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on April 11, 2025, I served the foregoing pleading on all counsel of

 4   record by means of the District Clerk’s CM/ECF electronic filing system.
 5

 6
                                                          /s/ Katelyn Masetta-Alvarez
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     DEFEDANTS’ NOTICE OF APPEAL

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